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UNITED STATES DISTRICT COURT
DISTRICT OF PUERTO RICO

 

R. ALEXANDER ACOSTA, Secretary of Labor,
United States Department of Labor,

Plaintiff, "Civil Action No. 3:17-cv-01278 (DRD)
" . CONSENT JUDGMENT

FR. ORTIZ SECURITY INC.; JESUS RAUL
ORTIZ SERRANO; and YVONNE SANTANA,

Defendants.

 

Plaintiff, R. Alexander Acosta, Secretary of Labor, United States Department of Labor
(the “Secretary”) has filed his Complaint alleging that Defendants JR. Ortiz Security Inc., Jesus
Raul Ortiz Serrano and Yvonne Santana (“Defendants”), Individually and as Officers and/or
Owners (collectively, “Defendants”) have violated sections 7, Li(c) and 15{a)(2) and 15(a)(S) of
the Fair Labor Standards Act of 1938, as amended 29 U.S.C. 201 et seq., (“the Act”). Defendants
have appeared by Counsel, and agree to the entry of this Consent Judgment without contest.

Defendants acknowledge their responsibilities pursuant to this Consent Judgment, and
acknowledge that they will be subject to sanctions in contempt of this Court if they fail to

comply with the provisions of this Consent Judgment.

1. The Secretary’s Complaint alleges that defendants violated sections 7, 11(c), and
15{a)(2), and 15(a)(15) of the Fair Labor Standards Act of 1938, as amended, 29 U.S.C. § 201, et
seq. by failing to pay their employees overtime wages; and failing to make, keep and preserve
adequate and accurate records.

2. Defendants submit to the jurisdiction of this Court over them and over the subject

matter of this action. Defendants admit that this Court has the authority to enter and enforce this
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Order and that this Court is the most appropriate venue for any enforcement action which may be
required as a result of this Order.

3. Defendants agree to pay the overtime compensation and liquidated damages to the
current and former employees listed on Exhibit A.

It is, therefore, upon motion of the attorneys for the Secretary and for good cause shown,

ORDERED that:

I. Defendants, their officers, agents, servants, employees and those persons in active
concert or participation with them be and hereby are, permanently enjoined and restrained from
violating the provisions of sections 7, 11(c), 15(a)(2), 15(@)G), and 15(a)(5) of the Act in any of
the following manners:

(i) Defendants shall not, contrary to section 7 of the Act, employ any of their
bona fide non-exempt employees who in any workweek are engaged in commierce or in
the production of goods for commerce, or employed in an enterprise engaged in
commerce or in the production of goods for commerce, within the meaning of the Act,
for workweeks longer than the hours now, or which in the future become, applicable
under sections 7 and 15(a)(2) of the Act, unless the employees receive compensation for
their employment in excess of the prescribed hours at rates not less than one and one-half
times the employees’ regular _—

(2) Defendants shall make, keep, and preserve adequate records of their
employees and of the see hours, and other conditions and practices of employment.
Defendants shall make available to authorized agents of the Secretary for inspection,
transcription, and/or copying, upon their demand for such access, such records of

employees and of the wages, hours, and other conditions and practices of employment, as
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prescribed by regulations issued pursuant to sections | I(c) and 15{a)(5) of the Act and
found at 29 C.FR, Part 516.

(G3) Defendants shall not discharge, blacklist, demote, suspend, threaten,
harass, intimidate, or in any other manner discriminate against an employee, including
soliciting the repayment of compensation paid to an employee pursuant to this Consent
Judgment, because the employee engages in or is believed to have engaged in any of the
following activities:

a. Discloses, protests, or threatens to disclose or protest, to 4
supervisor or to a public agency, any activity, policy or practice of the
employer or another employer, with whom there is a business relationship,
that the employee reasonably believes is in violation of the Act or a rule or
~ regulation promulgated pursuant to the Act,

b. Provides information to, or testifies before, any public agency or
entity conducting an investigation, hearing or inquiry into any alleged
violation of the Act or a rule or regulation promulgated pursuant to the
Act, by the employer or another employer with whom there is a business
relationship; or

oA Objects to, or refuses to participate in any activity, policy or
practice which the employee reasonably believes is in violation of the Act
or a rule or regulation promulgated pursuant to the Act.

Further, the Court finding that unpaid overtime compensation is owed and shall

be paid to the current and former employees listed on Exhibit A, which is attached hereto, in the
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amount of $10,500 plus an equal amount of liquidated damages of $10,500 for a grand total
amount (‘Total Amount Due”) of $21,000.00:
A. ORDERED that defendants are enjoined and restrained from withholding the
payment of a total of $10,500.00 in back wages owed to their current and former
employees in the amounts listed on Exhibit A.

B. It is further ORDERED that defendants shall pay $10,500.00 in liquidated damages

iv due to current and former employees in the amounts listed in Exhibit A.
VY il, To accomplish the requirements of paragraph II for the payment of $21,000 in
Na back wages and liquidated damages plus post-judgment interest pursuant to 28 ULS.C. § 1961,

Defendants shall deliver the following payments:

(1) ‘Payments of back wages and liquidated damages, plus post-judgment
interest calculated at the rate of 1.78% per annum, will be made in installments in
accordance with the amounts and due dates set forth in Exhibit B. All installment
payment(s) shall be in separate cashier or certified checks made payable to “Wage and
Hour Division - Labor” with “Case No. 1795057” written on the face of each check.

(2) Defendants shall send all checks to:

United States Department of Labor ~- Wage & Hour Division
The Curtis Center, Suite 850 West
170 S. Independence Mall West
Philadelphia, PA 19106-3317
(3) Defendants shall send a copy of each payment and cover letter to:
Wanda Lopez, Assistant District Director
U.S. Department of Labor, Wage and Hour Division
Caribbean District Office
T-Mobile Center

B-7 Tabonuco Street, Suite 1104
Guaynabo, PR 00968
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IV. The Secretary shall distribute defendants’ payment less any legal deductions to
the former and current employees, or to their estates, as set forth in Exhibit A. Any sums not
distributed to the employees or their personal representatives or estates because of inability to
locate the proper persons or because of such persons’ refusal to accept such sums shall be
forwarded to the Wage and Hour Division at the address listed in paragraph I11(2). Any amounts
of unpaid compensation and liquidated damages not distributed within a period of three years
from the date of receipt shall, pursuant to section 16(c) of the Act, be covered into the Treasury
of the United States as miscellaneous receipts. Defendants remain responsible for paying the
employer's share of any applicable taxes to the appropriate state and federal revenue authorities.

Vv. Defendants shall provide to the Secretary the social security number, if such is
available, and the last known addresses of each former or current employee listed in Exhibit A
within 20 days of the date of execution of this Consent Judgment.

VL ORDERED that neither defendants nor anyone acting on their behalf shall
directly or indirectly solicit or accept the return or refusal of any sums paid under this Consent
Judgment.

VIL. With respect to the payments shown in Exhibit B, a seven (7) calendar-day grace
period shall be allowed for receipt of each payment. In the event that the U.S. Department of
Labor does not receive the payment by the eighth calendar day after which it is due, the U.S.
Department of Labor's representatives will notify defendants through their attorney, Aurimir
Arocho Torres, by email at aurimir@yahoo.com. Defendants are responsible for timely notifying
the U.S. Department of Labor of any change in the identity or contact information of their
attomey. If the U.S. Department of Labor does not receive payment within ten (10) days of such

notification, then the total amount due under this Consent Judgment of $21,00.00 pins post-
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judgment interest, less any amounts already received by the Secretary pursuant to this Consent
Judgment, shall become due immediately and the Court will appoint a Receiver. No action or
non-action by the Secretary shall constitute a waiver of this paragraph.

VIL In the event a Receiver is appointed, it is ORDERED that:

G)} Defendants shall produce to the court-appointed Receiver all books and
records and any other information the Receiver requires to carry out the provisions of this
Consent Judgment. In addition, the defendants shall submit to an accounting by an
independent certified public accountant and/or the Receiver, and shall testify, if the
accountant or Receiver so decides.

Q2) All the expenses of the accountant or Receiver shall be borne solely by
defendants

G) The Receiver shall serve until the payment of the monetary terms of this
Consent Judgment is satisfied.

| (4) The Receiver shall have full authority to: collect the defendants’ assets
and report his/her findings to the Court and the parties; to redeem and/or liquidate
defendants’ assets and tum over the proceeds to the Secretary; if the asset is a debt that is
due, collect it and turn over the proceeds to the Secretary; to analyze all indebtedness and
where deemed appropriate seek restructuring, to analyze all transfers of defendants’
assets; to prevent waste or fraud; and to do all acts and take all measures necessary or
proper for the efficient performance of the duties under their judgment.
x. ORDERED that defendants shall post the attached Exhibit C in Spanish, for
which the Secretary shall provide translations, to ensure that employees are able to understand

Exhibit C. Defendants shall display Exhibit C where employees may easily view them within 30
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days of the date of entry of this Consent Judgment and shail maintain Exhibit C in a conspicuous
place for a period of one year from the date of entry of this Consent Judgment.

x, ORDERED that defendants shall provide a copy of Exhibit C to all of their
current employees within 30 days of the date of entry of this Consent Judgment.

XL Neither the commencement of this action nor the provisions of this Consent
Judgment shall in any way affect, determine, or ‘prejudice any and all legal rights of any
employees of defendants not listed in Exhibit A of this Consent Judgment, be they current or
former employees, to file any action against defendant under section 16(b) of the Act or likewise
for any current or former employee listed on Exhibit A of this Consent Judgment to file any
action against the defendants under section 16(b) of the Act for any violations alleged to have
occurred after August 7, 2016.

xi Each party will bear its own fees and other expenses incurred by such party in

connection with any stage of this proceeding.
SO ORDERED:

DATED: _, 2018
San Juan, Puerto Rico

 

HONORABLE DANIEL R. DOMINGUEZ
SENIOR UNITED STATES DISTRICT JUDGE

Defendants have appeared by the undersigned counsel and hereby consent to the entry of this
Judgment.

TR. ORTIZ SECURITY, INC.
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YVONNE SANTANA, Indivflually AURIM OCHO T LAW OFFICES
PSC
POBox 192281-—

San Juan, Puerto Rico 00919-2281
Attorney jor Defendants
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RECH ION Gy

On the > day of Cay war |, 2018 before me came J.e\ oof Eat Qe taserres

to me known, who, being by me duly sworn, did depose and say that he is a duly authorized

officer of LR. ORTIZ SECURITY, INC., described in and which executed the foregoing

 
 
 

instrument, that he signed his name thereto by like order.

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NOTARY PUBLIC

 

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Re CW AY 3)
On the 33 day of ar wl 2018 before me came JESUS RAUL ORTIZ

SERRANO, to me known and known to me to be the individual described in and whe executed

the foregoing instrument and hetity acknowledged to me that he executed the same.

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\ / NOTARY PUBLIC
‘\ rare oo
Al fe 4H ZG, 3 uy 4 "8 nsneeo od
On the 22 day of P.PorxrO _, 2018 before me came YVONNE SANTANA, to me

known and known to me to be the individual described in and who executed the foregoing

instrument and he duly acknowledged to me that he executed the same.

    

 

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EXHIBIT A
Liquidated
Back Wages Damages
First Name MI | Last Name Due Due Total
JAIME x ALVAREZ ROJAS $789.65 $789.65 $1,579.30
DAVID ANDUJAR MOLINA $327.06 $327.06 $654.12
YESIBELL ARROYO RIVERA $23.57 $23.57 S47.14
CARLOS Ml AVILES RIVERA $692.42 $692.42 $1,384.84
LUIS AYALA MATOS $246.03 $246.03 $492.06
RENE AYALA ORTIZ $165.00 $165.00 $330.00
LUIS A BAEZ $34.14 534.14 $68.28
LUIS A CABRERA BENITEZ $436.68 $436.68 $873.36
JOSE S CAMACHO S70.71 S70.74 $141.42
JOSE CORDERO MOJICA $29.46 $29.46 $58.92
JOAN CORTES $754.29 $754.29 $1,508.58
JOEL i CRUZ TRUJILLO S770 $17.70 $35.40
NILDA DE JESUS GONZALEZ $48.69 $48.69 $97.38
JAVIER G DELGADO AGOSTO $117.86 $117.86 $235.72
ANTONIO DELGADO ASCENCIO §22.10 $22.10 544.20
ALEXIS DELGADO CARABALLO $29.54 $29.51 $59.02
JOSE D FONSECA SANTIAGO $112.76 $112.76 $225.40
NELSON F GOMEZ TORRES $696.09 $696.09 $1,392.18
JOSE Vi GONZALEZ ALVAREZ $17.68 S17.68 $35.36
HARRY W GONZALEZ GONZALEZ $113.39 $113.39 $226.78
ELIASIB HERNANDEZ ACEVEDO $85.45 $85.45 $170.90
DAVID J LABOY RIVERA $54.46 $54.46 $108.92
ASTRID c LOPEZ PEREZ $35.36 $35.36 $70.72
MALDONADO
RAMON ECHEVARRIA $26.52 $26.52 $53.04
JORGE L MALDONADO RUIZ $23.57 $23.57 547.14
JOEL 0 MEDINA DELGADO §149.54 §149.54 $299.08
LORENZO MELENDEZ CARABALLO $257.08 $257.08 $514.16
NORBERTO MOLINA $229.93 $239.93 $459.86
ROSA | MOLINA NEGRON $126.70 $126.70 $253.40
SANTOS MONTALVO LUCIANO $241.73 $241.73 $483.46
ROBERTO NIEVES MORALES $164.19 §164.19 $328.38
RICARDO OLIVA REYES S707.15 $707.15 $1,414.30
RAMON L PEREZ DAVILA $25.20 $25.20 $50.40
LUIS A PEREZ DE LA ROSA $47.14 S47 14 $94.28
XAVIER RAMOS CARMONA $20.32 $26.32 $40.64
JOAQUIN RIVERA MARTINEZ $116.40 $116.40 $232.80

 

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Liguidated

Back Wages Damages
First Name MI | Last Name Due Due Total
JUAN C RIVERA ORTIZ 5338.85 $388.85 $677.70
LUIS A RIVERA RIVERA $70.71 S7O.71 $141.42
ABETZHAIL RODRIGUEZ $47.14 $47.14 $94.28
RAUL RODRIGUEZ GONZALEZ 561.77 S6L77 $123.54
EFRAIN RODRIGUEZ RIVERA $66.29 $66.29 $132.58
MARILUZ ROMAN FIGUEROA $47.14 $47.14 $94.28
LLAS A ROMAN REYES $60.41 $60.41 $126.82
JUAN C ROSA CABALLERO $104.04 $104.04 $208.08
CARLOS ROSA SANTIAGO $313.80 $313.80 $627.60
WHLFREDO ROSADO LAZA $169.07 $169.07 $338.14
JUAN Mi ROSARIO DAVILA $318.62 $318.62 $637.24
JOSE A ROSSY COLON $45.67 $45.67 $91.34
JUAN R SANCHEZ HEYLIGER $732.20 $732.20 $1,464.40
FELIX SANTANA §338.61 $338.61 S677 .22
SILVIA SILVA SOLANO $117.86 S117 .86 $235.72
VICTOR A TOLENTING HENRIQUEZ | $335.90 $335.90 $671.80
LUIS A TORRES AYALA $45.67 $45.67 $91.34
ISMAEL VAZQUEZ $114.92 $114.92 $229.84
JUAN A VAZQUEZ SANTOS $23.57 $23.57 $47.14
ANGEL Ni VEGA LOPEZ 556.50 $56.90 $143.86
ALEXANDER A VELAZQUEZ FERNANDEZ | $35.39 $35.39 S70.78
Total $10,500.00 ° $10,500.00 $21,000.00

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EXHIBIT B
Payment | Date Due Amount | Interest Total
No, Due Amount
Due
i March 15, 2018 $16,500.60 $10,500.00
2 April 15, 2018 $867.88 $15.58 $883.46
3 May 15, 2018 $869.17 $14.29 $883 46
4 June 15, 2018 $870.46 $13.00 $883.46
5 July 15, 2018 $871.75 $1L71 $883.46
6 August 15, 2018 $873.05 $10.41 $883 46
7 Sept. 15, 2018 $874.34 $9.12 $883.46
8 October 15, 2018 $875.64 $7.32 $883.46
9 November 15, 2018 | $876.94 $6.52 $883.46
id December 15,2018 | $878.24 $5.22 $883 46
il January 15, 2019 $879 54 $3.92 $883.46
12 February 15, 2019 $880.84 $2.62 $883.46
13 March 15, 2019 $882.15 $131 $883.46
TOTAL $21,000.00 | $101.52 $21,101.52

 

 
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EXHIBIT C
Aviso alos Empleados

Su patrono ha establecido un acuerdo a una demanda con el Departamento del Trabajo Federal y
entré en un acuerdo de demanda, el cual ha sido aprobado por un juez. El acuerdo requiere que
su patrono pague dinero a algunos de los que trabajaron en J.R. Ortiz Security Inc. desde el 11
de agosto de 2014 hasta el 7 de agosto de 2016. El dinero sera desembolsado directamente por el
Departamento del Trabajo Federal. Por favor llame al Departamento del Trabajo Federal al
(787) 775-1947 para actualizar su informacién de contacto.

Si usted recibe dinero del acuerdo, usted tiene derecho a quedarse con el dinero. Es contrario a
la ley que J.R. Ortiz Security Inc., Jestis Rail Ortiz Serrano o Yvonne Santana, o cualquier otra
persona actuando de parte de ellos, pedirle el dinero devuelto o descontarlo de su paga.

También es contrario a la ley que su patrono despida, amenace a despedirlo o Hlame a las
autoridades de ley o de inmigracién, reducir sus horas, o discriminar contra usted de cualquier
otra forma por aceptar el dinero del acuerdo, proveer informacion al Departamento del Trabajo
Federal, y/o quejarse por no recibir el salario minimo o pago por horas extras que usted ha
trabajado. Su patrono debe pagarle a los empieados por todas las horas trabajadas, incluyendo
horas extras por todas las horas trabajadas sobre las 40 en una sernana de trabajo a una tasa de
1.5 veces su salario por hora.

Si usted no ha sido pagado por todas las horas trabajadas, o le han pedido a usted que devueiva el
pago acordado, o toman represalia en su contra, por favor llame al Departamento del Trabajo
Federal al (787) 775-1947. Su nombre sera mantenido confidencial hasta donde permita la Ley.
